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IN THE UNITED STATES COURT OF APPEALS
FOR THE FIFTH CIRCUIT l

4;1 5_CR_295_1 united States Courts
________ Southern District of Texas
FILED
No. 1 7 -20’7 00

November 20, 2018

David .l. Bradley, Clerk of Court
UNITED STATES OF AMERICA,

Plaintiff-Appellee
v.
HERIBERTO LATIGO,

Defendant-Appellant

 

Appeal from the United States District Court
for the Southern District of Texas

 

ORDER
Heriberto Latigo moves to relieve his appointed counsel and for

permission to proceed pro se on appeal. His counsel does not oppose the

motion. Because Latigo expresses a clear and unequivocal desire to represent

himself the motion is GRANTED. See 28 U.S.C. § 1654; Brown v. Wainwright,

665 F.2d 607, 610 (5th Cir. 1982) (en banc).
FOR THE COURT:

 

 

MICHAEVL E. sCHNEIDER
DEPUTY cLERK

 

 

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Um'ted States Court of Appeals

FIF'I`H CIRCUIT
OFFICE OF THE CLERK

LYLE W. CAYCE TEL. 504-310-7700
CLERK 600 S. MAESTRI PLACE

NEW oRLEANS, LA 70130
November 20, 2018
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
No. 17-20700 USA v. Heriberto Latigo
USDC No. 4:15-CR-295-1
Enclosed is an order entered in this case.

Further processing of the above appeal will issue under separate
cover.

Sincerely,

LYLE W. cAYcE, clerk
H/Wé 9£¢£¢\%:97

By:
Amanda Sutton-Foy, Deputy Clerk
504-310-7670

 

Mr. David J. Bradley

Ms. Anna Elizabeth Kalluri
Mr. Heriberto Latigo

MS. Carmen Castillo Mitchell
Mr. Leif A. Olson

